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Attorneys for Plaintiff
JENNELYN NUNEZ

                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI’I

JENNELYN NUNEZ,                   ) Case No.: 1:24-cv-0187-HG-KJM
                                  )
                   Plaintiff,     )     Judge: Honorable Helen Gillmor
                                  ) Magistrate Judge: Kenneth J. Mansfield
         v.                       )
                                  )
EXPERIAN INFORMATION              ) Trial Date: September 30, 2025
SOLUTIONS INC., TRANS UNION, LLC, )
and VALLEY ISLE COMMUNITY         ) RULE 41(a)(1)(A)(i) VOLUNTARY
FEDERAL CREDIT UNION;             ) DISMISSAL WITH PREJUDICE AS
                                  ) TO DEFENDANT VALLEY ISLE
                   Defendants.    ) COMMUNITY FEDERAL CREDIT
                                  ) UNION



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       RULE 41(a)(1)(A)(i) VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff JENNELYN NUNEZ (“Plaintiff”), through counsel, pursuant to

Federal Rule of Civil Procedure (41)(a)(1)(A)(i), and in consideration of a negotiated

settlement   executed    between    Plaintiff       and   Defendant   VALLEY      ISLE

COMMUNITY         FEDERAL        CREDIT      UNION         (“Defendant   Valley   Isle”)

(collectively, the “Parties”) files this Notice of Dismissal. Defendant Valley Isle has

not filed an appearance in this matter. Plaintiff requests that the dismissal be with

prejudice as to Defendant Valley Isle, with each party to pay their own attorneys’


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fees and costs.

       This matter has been resolved as to all parties and Plaintiff requests dismissal of

this action in its entirety.


RESPECTFULLY SUBMITTED this 27th day of September 2024.


                                        By:    /s/James Smith
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                                              Attorneys for Plaintiff


APPROVED AND SO ORDERED.

DATED: September 30, 2024, Honolulu, Hawaii




_____________________________________________________________________
   JENNELYN NUNEZ v. EXPERIAN INFORMATION SOLUTIONS INC., et al ;
     Civil No.: 1:24-cv-0187-HG-KJM; RULE 41(a)(1)(A)(i) DISMISSAL WITH
    PREJUDICE AS TO DEFENDANT VALLEY ISLE COMMUNITY FEDERAL
                                CREDIT UNION

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